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13

14

15
                         UNITED STATES DISTRICT COURT

16
                       CENTRAL DISTRICT OF CALIFORNIA
17
                                           )
18   LFP IP, LLC,                          )   Case No.: 2:16-cv-00166-FFM
                                           )
19
                                           )
                       Plaintiff,          )
20
                                           )   AMENDED MEMORANDUM OF
                                           )   CONTENTIONS OF FACT AND
21   vs.                                   )   LAW SUBMITTED BY
                                           )   PLAINTIFF LFP IP, LLC
22
                                           )
     LEE KEITH BRETT,                      )
23
                                           )
                                           )   Pre-Trial Conference: September 13,
24
                                           )   2018 at 10 a.m.
                                           )
                                           )
25                     Defendant.          )   First Day of Trial: October 2, 2018
26
                                           )
                                           )
27
                                           )
                                           )
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                                           )



            AMENDED MEMORANDUM OF CONTENTIONS OF FACT OF LAW
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 1
           Plaintiff LFP IP, LLC (“Plaintiff”) respectfully submits the following
 2
     Memorandum of Contentions of Fact and Law pursuant to Local Rule 16-4:
 3

 4

 5
     1.    CLAIMS AND DEFENSES – LR 16-4.1
 6

 7         16-4.1(a):   Claims Plaintiff Has Pleaded and Plan to Pursue
 8
           Claim 1:     Defendant infringed Plaintiff’s Registered Trademark(s) by
 9

10
     promoting, advertising, preparing to distribute and/or selling “American Hustler”

11   branded clothing items (15 U.S.C. § 1114(a)).
12

13

14         Claim 2:     Defendant engaged in False Designation of Origin under the
15
     Lanham Act by falsely implying that Plaintiff endorsed, sponsored or authorized
16

17   the “American Hustler” clothing items created, promoted and sold by Defendant
18
     (15 U.S.C. § 1125(a)).
19

20

21         16-4.1(b): Elements Required to Establish Plaintiff’s Claims
22
           Claim 1:     Infringement of Plaintiff’s Registered Trademark
23

24         A trademark is any word, name, symbol, device, or any combination
25
     thereof, used by a person to identify and distinguish that person’s goods from
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     those of others and to indicate the source of the goods.

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             AMENDED MEMORANDUM OF CONTENTIONS OF FACT OF LAW
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 1
             In this case, Plaintiff contends that the Defendant has infringed Plaintiff’s
 2
     trademark(s). Plaintiff has the burden of proving by a preponderance of the
 3

 4   evidence that:
 5
             (1)   HUSTLER® and/or HUSTLER HOLLYWOOD® are valid,
 6

 7   protectable trademarks;
 8
             (2)   Plaintiff    owns      the       HUSTLER®       and/or     HUSTLER
 9

10
     HOLLYWOOD® trademarks; and

11           (3)   Defendant used the “American Hustler” mark on his goods, without
12
     the consent of the Plaintiff, in a manner that is likely to cause confusion among
13

14   ordinary purchasers as to the source of the goods.
15
             AUTHORITY: Ninth Circuit Manual of Model Jury Instructions,
16

17   §15.1[modified] and §15.5 [modified].
18

19
             Claim 2:     Federal Unfair Competition / False Designation of Origin
20

21           Plaintiff has the burden of proving by a preponderance of the evidence
22
     that:
23

24           (a)    The HUSTLER® and/or HUSTLER HOLLYWOOD® trademarks
25
     are valid, protectable marks;
26

27
             (b)   Plaintiff owns the claimed trademarks;

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              AMENDED MEMORANDUM OF CONTENTIONS OF FACT OF LAW
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 1
           (c)    Defendant used the “American Hustler” mark, without the consent
 2
     of Plaintiff, in a manner that is likely to cause confusion among ordinary
 3

 4   consumers as to the source, sponsorship, affiliation or approval of the goods.
 5
           AUTHORITY: 15 U.S.C. §1125 (a)
 6

 7

 8

 9

10
           16-4.1(c):     A Brief Description of The Key Evidence In Support of

11   Plaintiff’s Claims
12
           1.     Plaintiff’s Federal Trademark and Service Mark Registrations
13

14   (Plaintiff owns various HUSTLER® trademark registrations for various goods
15
     and services, including but not limited to an incontestable registration for apparel
16

17   items, including shirts. Plaintiff also owns the HUSTLER HOLLYWOOD®
18
     service mark for a chain of retail stores that feature various items for sale,
19
     including but not limited to HUSTLER® branded t-shirts and HUSTLER®
20

21   branded merchandise).
22

23

24         2.     Examples of Plaintiff LFP’s T-Shirts (various designs that Plaintiff
25
     has sold over the years, some that feature American themes and the slogan
26

27
     “Hardcore Since ‘74”).

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             AMENDED MEMORANDUM OF CONTENTIONS OF FACT OF LAW
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 1
           3.     Defendant’s various T-Shirt Designs (among other things,
 2
     Defendant’s t-shirt designs that feature “Hustler” prominently, designs that
 3

 4   feature the year 1974, and using words such “original”).
 5
           4.     The USPTO’s rejection of Defendant’s “American Hustler” service
 6

 7   mark application on a Section 2(d) likelihood of confusion refusal basis with
 8
     respect to several registrations owned by Plaintiff.
 9

10
           5.     Defendant’s website that features various “American Hustler” t-shirt

11   designs.
12

13

14         16-4.1(h): Identification of Any Evidentiary Issues
15
           Plaintiff perceives the following evidentiary issues at this time:
16

17         It is unknown what evidentiary issues might be in dispute at this time.
18

19
           16-4.1(i):   Issues of Law Germane to the Case
20

21         Under 15 U.S.C. § 1115(b), Plaintiff’s incontestable registrations provide
22
     conclusive evidence of ownership, validity, and the exclusive right to use of the
23

24   HUSTLER® mark.
25

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 1
           A.     The Strength of the HUSTLER® Marks Favors Plaintiff. The
 2
     scope of trademark protection depends upon the strength of the mark, with
 3

 4   stronger marks receiving greater protection than weaker marks. See Miss World
 5
     (UK) Ltd. v. Mrs. America Pageants, Inc., 856 F.2d 1445, 1448 (9th Cir.1988).
 6

 7   Here, the incontestable HUSTLER® mark is arbitrary or fanciful in this context,
 8
     and is therefore deemed a strong mark.
 9

10

11         B.     The Marks are Identical, Save for the Addition of a Descriptive
12
     Term. The greater the similarity between the two marks at issue, the greater the
13
     likelihood of confusion. Similarities in terms of appearance, sound, and meaning
14

15   should be considered, see, e.g., Dreamwerks Production Group, Inc. v. SKG
16
     Studio, 142 F.3d 1127 at 1131 (1998); and similarities should be weighed more
17

18   heavily than differences. See Official Airline Guides, Inc. v. Goss, 6 F.3d 1385 at
19
     1392 (1993).
20

21         Here, Defendant merely places the word “American” before the registered
22
     HUSTLER trademark owned by LFP.               Also, the word “American” was
23

24   disclaimed by Defendant before the USPTO. A disclaimer is a statement
25
     indicating that the applicant does not claim exclusive rights to the unregistrable
26

27
     portion of the mark. Here, Defendant disclaimed the word “American” as it was
28   an unregistrable component of the purported “American Hustler” mark.



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 1
           Further, the word “American” is geographically descriptive term.          “A
 2
     ‘geographically descriptive term’ is any noun or adjective that designates
 3

 4   geographical location and would tend to be regarded by buyers as descriptive of
 5
     the geographic location of origin of the goods or services.”        McCarthy on
 6

 7   Trademarks and Unfair Competition § 14:2 (4th ed.).           Plaintiff LFP is an
 8
     American-owned and American based company, founded by a famous American,
 9

10
     Larry Flynt. Accordingly, adding “American” before the registered HUSTLER

11   mark only serves to suggest a connection or affiliation to LFP and its affiliated
12
     companies and businesses.
13

14

15

16         C.     The Products are Identical. “Related goods are generally more
17
     likely than unrelated goods to confuse the public as to the producers of the
18

19   goods… In light of the virtual identity of marks, if they were used with identical
20
     products or services likelihood of confusion would follow as a matter of course.”
21

22
     Brookfield Commc'ns, Inc. v. W. Coast Entm't Corp., 174 F.3d 1036, 1056 (9th
23   Cir. 1999) [citations omitted]. The products at issue here, t-shirts, are identical
24
     and the marks are identical save for the addition of the word “American” placed
25

26   before Plaintiff’s established trademark.
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             AMENDED MEMORANDUM OF CONTENTIONS OF FACT OF LAW
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 2

 3         D.     Defendant’s Intent in Selecting the Mark and Creating
 4
     Infringing Goods. Where an alleged infringer chooses a mark he knows to be
 5

 6   similar to another, one can infer an intent to confuse. Entrepreneur Media, Inc.
 7
     v. Smith, 279 F.3d 1135, 1148 (9th Cir. 2002). Here, Defendant also used various
 8
     other indicia in his t-shirt designs that demonstrate an intent to confuse. For
 9

10   example, using the year “1974”; featuring HUSTLER prominently on his t-shirts;
11
     and using terms such as “original.”
12

13

14

15         E.     Overlap of Marketing Channels.          Further, in addition to the
16
     relatedness of the products, both parties use the Internet for marketing,
17

18   advertising and selling the t-shirts, “a factor that courts have consistently
19
     recognized as exacerbating the likelihood of confusion.” Brookfield at 1057. In
20

21
     the case of a defendant’s marketing its subject goods on the Internet, the three

22   most important Sleekcraft factors in evaluating the likelihood of confusion are:
23
     (1) the similarity of the marks; (2) the relatedness of the goods and services; and
24

25   (3) the parties’ simultaneous use of the web as a marketing channel.
26
     Perfumebay.com, Inc. v. eBay, Inc., 506 F.3d 1165, 1173 (9th Cir. 2007); see also
27

28
     Internet Specialties West, Inc. v. Milon-DiGriorgio Enterprises, Inc. 559 F.3d



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 1
     985, 990 (9th Cir. 2009).        Here, Plaintiff contends that: (i) the marks are
 2
     confusingly similar and/or Defendant used the distinctive HUSTLER® mark; (ii)
 3

 4   the goods are identical; and (iii) both parties used the Internet as a marketing
 5
     channel to both promote and sell their t-shirts.
 6

 7

 8
            2. BIFURCATION OF ISSUES – LR 16-4.3
 9

10          None.
11

12

13          3.      JURY TRIAL – LR 16-4.4
14
            Plaintiff seeks a permanent injunction and does not seek monetary
15

16
     damages. Accordingly, because the only relief sought by the Plaintiff is equitable

17   in nature, the trial will be tried to the Court.
18

19

20          4.      ATTORNEYS’ FEES – LR 16-4.5
21
            Plaintiff seeks to recover its costs and attorneys’ fees under 15 U.S.C.
22

23   §1117.
24
            5.      ABANDONMENT OF ISSUES – LR 16-4.6
25
            As indicated previously, Plaintiff will not be proceeding with the claim of
26

27   Federal trademark dilution, nor will it be proceeding with a claim under the
28
     Anticybersquatting Consumer Protection Act (ACPA).


              AMENDED MEMORANDUM OF CONTENTIONS OF FACT OF LAW
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 1
           Also, Plaintiff is not seeking monetary damages in connection with its
 2
      remaining Lanham Act claims.
 3

 4

 5    Dated: August 22, 2018
 6
                                         MARK S. HOFFMAN, A
                                         PROFESSIONAL CORPORATION
 7

 8                                       LIPSITZ GREEN SCIME CAMBRIA LLP
 9
                                         By: /s/ Jonathan W. Brown
10                                       Jonathan W. Brown, Esq.
11
                                         Attorneys for Plaintiff LFP IP, LLC

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             AMENDED MEMORANDUM OF CONTENTIONS OF FACT OF LAW
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